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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                  )
In re:                            )                       Chapter 11
                                  )
CENTER CITY HEALTHCARE, LLC d/b/a )                       Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et )
al.,                              )                       Jointly Administered
                                  )
                    Debtors.      )                       Re: Docket No. 4869
                                  )

                             ORDER SCHEDULING OMNIBUS HEARING DATES

               Upon the Certification of Counsel Regarding Omnibus Hearing Dates, dated September

  13, 2023, and pursuant to Rule 2002-1(a) of the Local Rules of Bankruptcy Practice and Procedure

  of the United States Bankruptcy Court for the District of Delaware, it is hereby

               ORDERED, ADJUDGED AND DECREED THAT:

               The following dates and times have been scheduled as omnibus hearings in the above-

  captioned chapter 11 cases:

                                               Date & Time

                                     October 26, 2023 at 10:30 a.m.

                                     November 28, 2023 at 10:30 a.m.
                                     (Interim Fee Hearing)

                                     December 20, 2023 at 10:30 a.m.




 Dated: September 13th, 2023                              MARY F. WALRATH
 Wilmington, Delaware                                     UNITED STATES BANKRUPTCY JUDGE


  51039734.2 09/13/2023
